Case 3:14-cv-01772-MO   Document 33-21   Filed 04/10/15   Page 1 of 13




                        Exhibit 7
                 Case 3:14-cv-01772-MO                Document 33-21                Filed 04/10/15            Page 2 of 13

roberts
  ATTORNEYS AT LAW                         Up



                                                                                                                     JUL 0 1 2009
                                                                                                                    Environmental
                                                                                                                       Cleanup Office
                                                                                                                                Direct Phone
                                                                                                                                503.219.8133

                                                                 May 29, 2009                                                   Direct Facsimile
                                                                                                                                800.600.2138


                                                                                                                                E-Mail
   VIA FEDERAL EXPRESS                                                                                                          hutch@robertskaplan.com




   Dan Opalski
   Director, Office of Environmental Cleanup                                                                             USEPA SF
   U.S. Environmental Protection Agency, Region 10
                                                                                                                             Iiiiii
   1200 6'*^ Avenue, M/S ECL-111                                                                                           , iiilill lllillilll
   Seattle, WA 98101                                                                                                       1309314
                 Re:   Linnton Plywood Association
                       Portland Harbor Superfund Site Opportunity

                       CONFIDENTIAL SETTLEMENT COMMUNICATION (FRE 408)

   Dear Mr. Opalski:

           As counsel to and on behalf of Linnton Plywood Association, an Oregon cooperative
   corporation ("LPA"), we submit this request for EPA's early determination (at the reasonably
   earliest possible time) that LP A and its property, known as 10504 NW St. Helens Road,
   Portland, Oregon, as shown on Exhibits A-1 and A-2 ("Property"), are eligible for a de minimis
   settlement of any alleged liability arising out ofthe Portland Harbor-Willamette River ("Portland
   Harbor") Superfund Site. This determination and settlement ("Settlement") with EPA will allow
   LPA to proceed with its pending sale transaction with BP West Coast Products LLC, a Delaware
   limited liability company ("BP") which will result in the redevelopment of the Property
   consistent with the goals of EPA's ER3 program and will allow the release 'of life savings to
   LPA's 199 members. As stated previously, BP is not willing to complete the transaction unless
   it is clear that it will not assume any liability because of past or current operations on the
   Property. BP's purchase ofthe Property is supported by a wide array of interests because ofthe
   environmental, social and economic benefits it will provide, as will be described in this letter.
           The purpose of this submission is to establish a foundation and mutually agreed path
   forward for EPA's consideration. To accomplish this purpose, this submission: (a) includes a
   description of LPA's manufacturing and regulatory history, (b) proposes a method of analysis to
   demonstrate LPA's de minimis contribution of contaminants to Portland Harbor sediment, and
   (c) describes the benefits that an early de minimis Settlement would provide to the community
   and the environment. At this point, LPA seeks EPA's concurrence that the path forward
   described in this letter provides an acceptable basis to proceed to determine whether LPA



   30162289.12

       601 SW Second Avenue, Suite 1800   Portland, Oregon 97204 | P H O N E : 503.221.0607 | FAX: 503.221.1510 | WEB: robertskaplan.com
       Case 3:14-cv-01772-MO          Document 33-21       Filed 04/10/15     Page 3 of 13



May 29, 2009
Page 2

qualifies for a de minimis Settlement that will account for its liability for response costs for the
Portland Harbor Superfiind Site.
(A)    Past and Current Operations on the Property and the Property's regulatory history
       reveal nominal potential contaminant sources and pathways to the River.
       1.      Manufacturing processes and potential impacts. LPA's Property has had a
       long but relatively simple history of industrial use. The Property was first developed as
       the Clark and Wilson Lumber Company', which operated from 1894 to 1947, when
       significant portions of the mill bumed. LPA began operation in the surviving sawmill
       building in 1951, and operated on the northem portion ofthe Property unfil 2001, when it
       closed because of changing market conditions^. The southem portion ofthe Property was
       unused fi'om 1947 until 1994 when LPA leased the land for use as a sand transfer site,
       which involves slurrying clean sand ashore fi-om a barge and tmcking the sand offsite .
       The sand transfer operation is still active.
               These uses ofthe Property over the past 100 years have involved activities which
       have had relatively little potential impact on the Willamette River and its sediments, hi
       earlier days, the sawmill converted logs to lumber, with wood waste (used for fiiel) being
       the byproduct''. LPA's plywood operation was also timber-based, and fi'om 1951 to 1992
       LPA cut logs to length in the River and moved them by conveyor into the plant, where
       they were peeled into veneer^. The veneer was dried in kilns fired by sawdust and natural
       gas. The veneer was then glued together with a phenol-formaldehyde glue mixed on the
       Property fi-om formaldehyde, sodium hydroxide and soda ash (none of which contained
       polynuclear aiomatic hydrocarbons ("PAHs"), metals, polychlorinated biphenyls
       ("PCBs")^, or other constituents identified as contaminants in the sediments offshore
       fi-om LPA). Plywood was shipped fi-om the plant in trucks and by rail^. No glue waste
       was generated, as excess glue was mixed with water and recycled back into a mixing
       tank. Wood waste was sold for fiiel^.
                Other products used in the plywood manufacturing process included water-based
       paint (used for painting plywood edges) and light petroleum hydrocarbons (such as diesel
       fiiel)^. Four underground storage tanks were removed in the 1990s with clean closure
       from the Oregon Department of Environmental Quality ("DEQ")'°. Several small soil
       removals were conducted in 2003; one to remove accumulated abrasive material used in
       sharpening lathe blades", and one to remove soil containing petroleum hydrocarbons and
       metals fi-om beneath a stormwater outfall (which drained an outdoor steam cleaning pad
       and a small paved area at the North side of the plant)'^. The soil was tested and taken to a
       municipal waste landfill. Wood ash residue fi-om the sawdust-fired veneer kiln was
       trapped in an air pollution control device, and the residue (about one cubic yard per
       month) was initially placed onsite'''. Material generated after 1997 was shipped to a
       municipal waste landfill'''. Material remaining onsite was tested in 2007, found to be
       benign, and with DEQ approval, left onsite'^.
              The sand operation on the southem portion of the Property did not store fiiels
       onsite until recently, when small quantities of fuel and oils were brought on the
      Case 3:14-cv-01772-MO          Document 33-21       Filed 04/10/15     Page 4 of 13




May 29, 2009
Page 3

      Property, within secondary containment, for equipment maintenance'^. The northem
      portion ofthe Property is used, beginning in 1997 and continuing to the present, for
      the storage of steel rail and track hardware'^. The plant building and paved portions
      near it were also leased after the plant closed in 2001 to several entities for the
      temporary storage of forest products equipment, pallet wood and miscellaneous
      equipment'^. Current stormwater controls were maintained during this period'^.

      2.      Regulatory history. LPA operated under relevant permits for its operations,
      including an air discharge permit (veneer dryer stack), a stormwater permit (outfalls), and
      a dredging permit (clearing wood debrisfi-omits in-water log processing area)^°.
               LPA reported a spill of about 25 gallons of a diesel-like petroleum hydrocarbon to
                             01        •

      a storm drain in 1995 . The spill created a sheen on the River which quickly dissipated
      and no further regulatory action was taken.
             LPA entered DEQ's Voluntary Cleanup Program in 2000, to assess its potential
      contribution of contamination to Portland Harbor, hi 2004, DEQ concluded, with EPA
      concurrence, that LPA was not a current or likely fiiture source of contamination to the
      River. DEQ also determined that LPA's inclusion in DEQ's confirmed release hst was
      not warranted. Further investigation and evaluation was conducted in 2007 to support a
      determination of "no fiirther action" ("NFA") for the Property, which is expected fi-om
      DEQbyJune 15,2009^1
      3.      Potential Contaminant sources and pathways. Historical uses ofthe Property
      did not include chemicals or processes likely to release significant quantities of hazardous
      substances. Several environmental investigations have been conducted on the Property,
      and the results of these studies validates the logical conclusion that the Property has had a
      nominal impact on River sediment.
           The historical operations on the Property had no process or industrial discharges to
      the River. The only direct contact with the River by plant equipment was the conveyor
      belt, which operated fi-om 1951 to 1992, moving logs fi-om the River up to the veneer
      lathe^^. Potential contaminants associated with the Property include the following:
          •     Small quantities of petroleum hydrocarbons (and by association the small PAH
               component of these products) associated with miscellaneous oils (e.g., hydraulic
               fluid), lubrication greases, fiiels, and a diesel-grade oil used for some plywood
               products to keep wood forms fi-om adhering to concrete^'';
          •    Very small quantities of volatile organic compounds ("VOCs") and semi-volatile
               organic compounds ("SVOCs") potentially associated with equipment
               maintenance, cleaning and repair^^;
               Potential though unlikely releases of PCBs associated with onsite electrical
               transformers ; and,
          •    Metalsfi-omgeneral Property operations and zinc fi-om stormwater mnoff fi-om a
               galvanized metal roof^^.
      Case 3:14-cv-01772-MO         Document 33-21      Filed 04/10/15    Page 5 of 13



May 29, 2009
Page 4

        Environmental investigations have focused on three potential pathways to the River: (1)
entrainment and transport of contaminated soils in stormwater discharge, (2) riverbank soils in
areas where stormwater outfalls discharge, and (3) the discharge of groundwater which may have
been affected by historic releases. Constituents detected in groundwater include low levels of
metals (below DEQ ecological risk screening criteria) and low levels of petroleum hydrocarbons
in an unfiltered sample near the maintenance shop area^^. A petroleum hydrocarbon plume on the
southwestem comer of the Property is being addressed by the adjoining property owner with
DEQ oversight^^
       LPA conducted a focused evaluation of ecological risk using sediment data reported by
the Lower Willamette Group ("LWG")''*'. This evaluation showed an absence of unacceptable
ecological risk, a conclusion corroborated by bioassay testing conducted by the LWG, which
showed high organism survival rates and low ecological risk^'.
(B)    The apportionment framework described below should establish LPA's less than
       1/10*'' of 1% de minimis apportioned share of responsibility for Portland Harbor
       CERCLA Response Costs.
        With EPA's acknowledgment that our suggested path forward provides a reasonable
basis to proceed, we propose to provide our detailed analysis in a second supporting submission
in the July-August timefi-ame. This submission will also include any response to data or
information requests received fi-om EPA. This analysis will be based on both qualitative and
quantitative assessments of LPA's potential and apparent contribution to contamination in
Portland Harbor.
       We understand that the Remedial hivestigation report prepared by the LWG will be
received by EPA later this summer. When this report is received, it can be used to validate
LPA's analysis. However, LPA suggests that with currently-available data it is possible to do
two things:
            • Demonstrate that past operations on LPA's Property had de minimis (<0.1%)
              contributions to contamination in Portland Harbor; and
            • Estimate that contribution for purposes of discussing a Settlement with EPA in
              advance of the Remedial Investigation report. The methodology needed to
              accomplish this task is simplified by the fact that there were no process-related
              discharges to the Willamette Riverfi-ompast operations on the Property.

An estimate of any contribution of contaminants fi-om past operations on the Property can be
accomplished using methodology similar to that used for other multi-party Superfimd sediment
sites, and will include the following steps:
       (1)     Inventory the contaminants of interest ("COIs") detected on the Property and in
               the adjacent sediments;
       (2)     For those COIs detected both upland and in nearby sediments, compare the
               sediment COI concentrations adjacent to the Property with potential risk-based
               criteria and with concentrations measured in sediments elsewhere in Portland
               Harbor;
       Case 3:14-cv-01772-MO          Document 33-21        Filed 04/10/15     Page 6 of 13



May 29, 2009
Page 5

       (3)     Consider toxicity data for sediment adjacent to the Property and document the fact
               that active remediation is not required for the sediments adjacent to the Property;
       (4)     Assess any potential contribution to harbor-wide contamination by considering:
               (a) potential on-site sources (focusing on the magnitude and nature of the use of
               COIs on the Property) versus off-site sources, (b) potential on-site and off-site
               pathways to the River, and (c) the distribution (i.e., depth and volume) of
               sediment contamination relative to potential pathways to the River;
       (5)     Provide an estimate of the contribution fi-om operations on the Property to
               Portland Harbor contamination, with a transparent description of all calculations
               and assumptions used; and
       (6)     Review the de minimis calculations with EPA.

        LPA's apportionment of liability based on the outline of steps described above will
comply with the U.S. Supreme Court's recent decision in Burlington Northern & Santa Fe
Railway Co.. et al. v. United States, 129 S.Ct. 1870, 2009 U.S. LEXIS 3006 (2009). hi that
case, the Court concluded that where a defendant provides evidence of a "reasonable basis" for
apportioning liability, even if such an apportionment is less than exact or fully precise, the
defendant may avoid the imposition of "joint and several liability" under the Comprehensive
Environmental Response, Compensation and Liability Act ("CERCLA"). Id. at *31. Thus,
apportioned liability rather than joint and several liability should be applied where the harm is
legally divisible.
        In Burlington Northern, the Court found that the following factors provided a reasonable
basis to apportion liability to the railroad:
       (1)     The percentage ofthe overall site that was owned by the railroads;
       (2)     The percentage of time that the railroads leased the parcel to the facility operator
               in relation to the total time period the facility operated; and,
       (3)     The percentage of chemicals that were found to be attributable to the parcel
               owned by the railroads.
The method of apportioning liability that LPA proposes is much more precise and will provide a
much more defensible method than the Court found acceptable in Burlington Northern. Thus,
we are hopefial that EPA will agree that the method proposed will provide a reasonable basis to
proceed to determine LPA's share of hability for Portland Harbor response costs.
       Case 3:14-cv-01772-MO         Document 33-21       Filed 04/10/15    Page 7 of 13




May 29, 2009
Page 6

(C)    This Settlement is consistent with EPA's guidance and is in the public interest.
        Based on our evaluation that any releases fi-om LPA's Property are minimal and any
response costs associated with the Property are minor in relation to the Portland Harbor Site, we
believe LPA is eligible for a de minimis early Settlement of CERCLA claims pursuant to 42 USC
§ 9622(g)(1)(A). We believe all ofthe elements of this Section of CERCLA will be satisfied:
       (1)     Response costs are minor. Based on present information described above, and
               pending the results of the Remedial Investigation, response costs arising from the
               Property appear to be very minor.
       (2)     The volume of hazardous substances contributed is minimal. This standard,
               as applied, does not require precise figures and may include a range. Streamlined
               Approach for Settlements with De Minimis Waste Contributors under CERCLA §
                122 (g)(1)(A), dated July 30, 1993, (the "1993 Guidance"), p. 2. There is no
               bright-line percentage for determining whether a contribution is "minimal". The
               determination is site-specific. Id. As of the 1993 Guidance, "minimal"
               contributions ranged fi-om .07% to 10.0% of the total volume of hazardous
               substances released at a facility, with a mean of 1.059%) and a median of 1.0%o.
               Id. at n. 5. The Property has contributed less than 0.1% to Portland Harbor's
               contamination.
       (3)     The hazardous effects of the substances contributed are minimal. If the
               hazardous substances released by a defendant "are not significantly more toxic
               and not of significantly greater hazardous effect than other hazardous substances
               at the facility", then the "toxic or other hazardous effects" of the released
               contamination will be deemed minimal. 1993 Guidance, at p. 2 (intemal
               quotation marks and citations omitted). The de-listing and the imminent issuance
               of DEQ's NFA, along with the LWG's and EPA's Remedial Investigation all
               show that any hazardous substances released fi'om the Property are less hazardous
               or toxic than other hazardous substances at the Portland Harbor Site.
       (4)     The Settlement is practicable and in the public interest. The proposed de
               minimis Settlement is practicable, and in the public interest, as demonstrated by
               the support of the City, the Portland Development Commission, the Port of
               Portland, the Linnton Community, and the Natural Resource Tmstees.
               Methodologies for Implementation of CERCLA § 122 (g)(1)(A) De Minimis
               Waste Contributor Settlements, dated December 20, 1989; United States v.
               Borough ofLemoyne, 1994 U.S. Dist. LEXIS 21533, =^13 (M.D. Pa. Nov. 17,
               1994) (appljdng criteria).
         By entering into an early de minimis Settlement with LPA, EPA not only achieves a fair
settlement of CERCLA response cost claims, obtaining payment of LPA's response costs, but
EPA also satisfies a critical requirement for the redevelopment of LPA's Property as desired by
EPA and all federal, state and local stakeholders, consistent with the public interest. As stated
earlier, LPA's Settlement with EPA is supported by wide array of interests, including the City of
       Case 3:14-cv-01772-MO         Document 33-21       Filed 04/10/15    Page 8 of 13



May 29, 2009
Page 7

Portland, the Portland Development Commission, the Port of Portland, the Linnton community,
and the Natural Resource Tmstees.
(D)    The redevelopment of the Property that would result from this Settlement and
       LPA's transaction with BP would meet the goals of EPA's ER3 program and the
       Portland Harbor Natural Resource Trustees ("the Trustees").
        EPA's Settlement with LPA is needed for LPA to proceed with its sale ofthe Property to
BP. A conceptual site plan showing how BP intends to redevelop the Property is attached as
Exhibit B. If the sale ofthe Property closes, BP's plan to redevelop the Property will satisfy a
number of interests. First, BP's redevelopment plan will preserve for ecological uses a
significant portion of the Property's undeveloped shoreline. The Portland Harbor Natural
Resource Tmstees have expressed a high level of interest in preserving and enhancing the
Property's shoreline to provide additional near shore habitat for the Harbor's threatened and
endangered wildlife. BP's redevelopment plan will also include a significant amount of open
green space which local residents and the City of Portland find appealing. Finally, the plan will
eventually retum the upland northem and southem portions of the Property to productive
industrial use, consistent with the land use goals of the Port of Portland and the Portland
Development Commission.
         BP's plan to redevelop the Property satisfies ER3's core mission which is "to establish
the next generation of environmental protection—one that proactively prevents and/or reduces
contamination in the developed environment". BP's plan to use a significant amount of the
Property for open space and preserve the River's natural shoreline will satisfy ER3's primary
goal, as will using the remaining upland portion of the Property for industrial use that will
comply with state and local land use and environmental laws. Industrial use of the Property will
also create additional jobs for the community and will provide economic development where
infi-astmcture already exists for such development. We believe LPA's sale ofthe Property to BP
and BP's redevelopment plan for the Property provides an exciting opportunity for Region 10 to
showcase how it can help to facilitate the redevelopment of a unique and under-utilized parcel of
property within the Portland Harbor Superfund Site that will satisfy multiple interests and ER3's
goals.
(E)    LPA's remaining members need this Settlement to permit their realization of the
       social and economic benefits they have earned.
        LPA ceased operating on a cooperative basis in 2001. Since that time, its efforts have
been focused on an orderly liquidation of its assets which has been expensive and we hope will
culminate with the sale of the Property soon. LPA has addressed environmental issues during
this period and sought a purchaser for the Property.
        Over the course of LPA's 50 years as a worker-owned plywood manufacturing
cooperative, its working members have capitalized the cooperative out of their taxable earnings.
Normally those contributions would have been distributed back to the members over time. But a
significant portion of the capital contributions have not been retumed to LPA's working
members, and will remain unavailable until the Property is sold. Retuming those fimds and the
proceeds realized fi-om the proposed sale ofthe Property to the 199 remaining members will help
       Case 3:14-cv-01772-MO        Document 33-21        Filed 04/10/15    Page 9 of 13



May 29, 2009
Page 8

alleviate the financial hardship many of them are experiencing. With an average member age of
over 65 years and 35 members who are over 80 years old, it is possible that some members will
not live long enough to receive proceeds due them unless the Property is sold soon.
                                        CONCLUSION
        The requested Settlement is supported by the law and underlying facts pertinent to the
Property. These include the Property's historic use, the plywood manufacturing process and
constituents utilized, the Property's regulatory history (including upland source de-listing and
DEQ's anticipated NFA detennination), and LWG's and EPA's scientific sediment analytical and
characterization results.

        In addition, because the Property is immediately below the City of Portland's Forest Park
and has the longest vegetated shoreline within the Portland Harbor Superfund Site, it affords the
Natural Resource Tmstees a unique species refugia and mitigation opportunity which is
enhanced by BP's carefiilly balanced redevelopment plan. In the near future, LPA and BP plan
to meet with the Tmstees to explore how BP's redevelopment plan might be coordinated with the
Tmstees' plans for Portland Harbor and explore settlement of any claims the Tmstees' may have
against LPA. Retuming the Property to economic productivity in an environmentally sensitive
manner is consistent with EPA's ER3 goals and is supported by the Linnton Community, the Port
of Portland and the City of Portland (and the Portland Development Commission) under their
Harbor Ready (ReDi) Initiative. Finally, a favorable EPA determination would permit LPA's
199 working members to recover their eamings in their lifetime.

        We respectfiilly request EPA's consideration of LPA's proposed path forward to
apportion its CERCLA liability for Portland Harbor response costs. We look forward to EPA's
response after you've had a chance to consider this submission. Because I am traveling out of
the country until June 26, 2009, during my absence please contact my partner, Elia Popovich at
503-221-7303 or epopovich(a)jobertskaplan.com. Please note our new firm name and, for fiiture
reference, my new email address hutch@robertskaplan.com.

                                            Very tmly yours,



                                            William P. Hutchison


WPH/dod
cc:  Kristine Koch - Project Manager, Office of Environmental Cleanup
     Lori Houck Cora - Assistant Regional Counsel
       Case 3:14-cv-01772-MO              Document 33-21           Filed 04/10/15   Page 10 of 13




May 29, 2009
Page 9



                                                   References

EPA 104(E) Response - Linnton Plywood Association, Portland Harbor, Portland, Oregon.
Prepared by CH2M HILL. October 23, 2008 ("LPA, 2008").


' (LPA, 2008) Questions 8 and 11
^ (LPA, 2008) Question 20
^ (LPA, 2008) Questions 11 and 20
" (LPA, 2008) Question 11
^ (LPA, 2008) Question 20
^ (LPA, 2008) Question 21
'(LPA, 2008) Question21
* (LPA, 2008) Question 21
'(LPA, 2008) Question 21
'" (LPA, 2008) Questions 13, 62, 64, and 72
" (LPA, 2008) Questions 16, 21, 36, 39, 40, 62, 63, 64, and 72
'^ (LPA, 2008) Questions 63, 64, and 72
'^ (LPA, 2008) Questions 13, 16, 21, 26, 36, and 62
'" (LPA, 2008) Questions 26, 39, and 40
'' (LPA, 2008) Questions 16
'^ (LPA, 2008) Questions 28 and 32
" (LPA, 2008) Questions 6 and 20
'* (LPA, 2008) Question 6
"(LPA, 2008) Question 13
^^ (LPA, 2008) Question 52
^' (LPA, 2008) Questions 18, 22, 24, 51, 58, 60, 62, 64, and 67
^^ http://www.deq.state.or.us/lq/ECSI/ecsidetail.asp?seqnbr=237^
" (LPA, 2008) Questions 22 and 23
^^ (LPA, 2008) Questions 21, 32, and 34
" (LPA, 2008) Questions 34 and 64
^* (LPA, 2008) Questions 22, 36, 47, 48, 51, 60, 62, and 67 •
" (LPA, 2008) Questions 18 and 63
^* (LPA, 2008) Questions 65, 66, and 71
^' (LPA, 2008) Questions 6, 13, and 66
^^ (LPA, 2008) Questions 15 and 71
^' http://mapping2.orr.noaa.gov/website/portal/portland/pdfs/figure_ToxData.pdf
              Case 3:14-cv-01772-MO    Document 33-21    Filed 04/10/15   Page 11 of 13




May 29, 2009
Page 10




                                          EXHIBIT A-1
                                      Diagram of the Property




30162289.12
                            Case 3:14-cv-01772-MO                    Document 33-21       Filed 04/10/15              Page 12 of 13




              May 29, 2009
              Page 11




                                                                        EXHIBIT A-2
                                                                     Diagram of the Property



                                                                                                                              Legend
                                                                                                                                   iBlenwl Property Une

                                                                                                                                   Appndmae River Bank

                                                                                                                                   }S<inmmM»a

                                                                                                               _>i__ii-s StwmOnlnLlnta

                                                                                                               — — —— — —          OswiCtairwl


                                                                                               Ckttti          — 1 — " —           Gr»*yS««fU>M

                                                                                               2mi m i i o i        : — n —        PnssurlzKJSffHrUnfls

                                                                                                               — c> — a —          ComBBwl Stma m m

                                                                                                               ........            OnfnajtBnlnBandBy

                                                                                                                          1        Stnn Dtam     m




                                                                                                                          I        Rvnoval AcOcni

                                                                                                                          ©        SarvleUiaislon.KKll

                                                                                                                          @        Sarvli Location, 2002

                                                                                                                                   Sample Lnailon. 2007


                                                                                                                Nca: ill utiliv loaHons IHOIKI m apdmifflgii.




                                                                                                                                    -Ih


                                                                                                                              SCAlf: T = 100'
                                                                                                                m              g         in




                                                                                                                          Exhibit B
                                                                                                                      Sampling Locations
                                                                                                                 LINNTON PLYWOOD ASSOCIATION
                                                                                                                      PORrLAND,0%GON

VnWfitfUwmrt'i^oM.—o:. ..„..II.-,i:.-i-^|/.«;j45 l.u> 21 S08-»3pir
                                                                                                                                                     fM2MHILl
     Case 3:14-cv-01772-MO   Document 33-21    Filed 04/10/15   Page 13 of 13




May 29, 2009
Page 12


                                EXHIBIT B
                       Conceptual Plan for the Proposed
                        Redevelopment of the Property
